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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


      FEDERAL TRADE COMMISSION and

      THE PEOPLE OF THE STATE OF
        NEW YORK, by LETITIA JAMES,
        Attorney General of the State of
        New York,                                        Case No. 1:17-cv-00124-LLS

                                Plaintiffs,

                                v.

      QUINCY BIOSCIENCE HOLDING
        COMPANY, INC., a corporation;
                                                         RESPONSE TO DEFENDANT
      QUINCY BIOSCIENCE, LLC, a                          MARK UNDERWOOD’S RULE
        limited liability company;                       56.1 STATEMENT BY PLAINTIFF
                                                         PEOPLE OF THE STATE OF
      PREVAGEN, INC., a corporation                      NEW YORK, BY LETITIA
      d/b/a/ SUGAR RIVER                                 JAMES, ATTORNEY GENERAL
         SUPPLEMENTS;                                    OF THE STATE OF NEW YORK

      QUINCY BIOSCIENCE
        MANUFACTURING, LLC, a
        limited liability company; and

      MARK UNDERWOOD, individually
        and as an officer of QUINCY
        BIOSCIENCE HOLDING
        COMPANY, INC., QUINCY
        BIOSCIENCE, LLC, and
        PREVAGEN, INC.,

                                Defendants.


       Pursuant to Local Rule 56.1, Plaintiff People of the State of New York, by Letitia James,

Attorney General of the State of New York (“NYAG”), hereby submits the following response to

the Rule 56.1 Statement in Support of Mark Underwood’s Motion for Summary Judgment (filed

Mar. 18, 2022) [Dkt. No. 212]. The NYAG submits that the majority of purported material facts



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cited by Mr. Underwood are not, in fact, material to any issue in the case, and the NYAG intends to

challenge the admissibility of Mr. Underwood’s evidentiary support at the appropriate time.

       With respect to the purported undisputed facts cited by Mr. Underwood, the NYAG

responds as follows:

        1.      Mark Underwood is not a resident of New York, has never lived in New York, does

 not own property in New York (and never has), and does not personally transact business in New

 York. (Declaration of Mark Underwood dated March 18, 2022 (“Underwood Decl.”) at ¶¶ 1-3.)

       RESPONSE: Disputed. Mark Underwood, through the Corporate Defendants, does

transact business in New York. Through Defendants Quincy Bioscience Holding Company, Inc.,

Quincy Bioscience, LLC, Prevagen, Inc., and Quincy Bioscience Manufacturing, LLC

(collectively, the “Corporate Defendants”), Underwood advertised, and continues to advertise, in

the State of New York, and has sold more than               worth of Prevagen products in the State.

(Rule 56.1 Statement in Support of Mark Underwood’s Motion for Partial Summary Judgment

(filed Mar. 18, 2022) [Dkt. No. 212] ¶ 10 (“Advertising and marketing for Prevagen is national in

scope.”); Declaration of Kate Matuschak in Support of NYAG’s Opp. to Def. Underwood’s Mot.

for Partial Summary Judgment (May 6, 2022) (filed contemporaneously herewith) (“Matuschak

Decl.”) Ex. B (Defs.’ Resps. to Pls.’ 1st Requests for Admission (Sept. 30, 2020)) at 63 (admitting

that Underwood “is part of the marketing creative team, translates scientific data into marketing

language, and directs research programs and activities”); Matuschak Decl. Ex. C (Defs.’ 2d Supp.

Resps. to Pls.’ 2nd Interrogatories (Oct. 23, 2020)), Nos. 3, 4, & Ex. A (detailing dissemination

schedule for television and radio advertisements, including advertisements that aired nationally,

including in New York, and on New York-specific television and radio stations); id. No. 8

(discussing claims made on Prevagen packaging); Matuschak Decl. Ex. D (Defs.’ 4th Supp. Resps.

to Pls.’ 1st Interrogatories (Oct. 23, 2020)), at 11 & Ex. C (detailing number of bottles of Prevagen

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sold and shipped to New York addresses, and revenue received from such sales); id. Ex. E

(detailing number and amount of direct-to-consumer sales to consumers in New York); Matuschak

Decl. Ex. E (Underwood 8/20/20 Tr.) at 99:5-11 (describing Underwood’s involvement in

determining what data to include in an advertisement); Matuschak Decl. Ex. F (Underwood

8/21/20 Tr.) at 46:6-47:11 (discussing leadership role in developing marketing messaging); id. at

60:2-5 (discussing Underwood’s role in approving edits to Prevagen’s packaging); id. at 67:16-

68:12 (discussing Underwood’s role in an infomercial that aired in New York); id. at 80:16-82:5

(same); id. at 85:2-86:17 (discussing Underwood’s role in translating scientific data into marketing

language); Matuschak Decl. Ex. G (Olson 8/4/20 Tr.) at 55:8-56:12 (discussing Defendants’

advertising in national publications).) Indeed, Defendants do not dispute that “Prevagen

advertisements have been disseminated to consumers nationwide, including in the State of New

York, through a variety of media, including television, radio, print, the internet, social media,

product labeling and packaging, and press releases, including during the time periods shown in

[Exhibit H to the Matuschak Declaration].” (Matuschak Decl. Ex. I (Defs.’ Resps. & Proposed

Counter-Findings to Pls.’ Proposed Findings of Fact (Mar. 3, 2022) at 15 (finding 35).)

            2.       Mr. Underwood is a co-founder and President of Quincy. 1 (Compl. ¶ 13.)

          RESPONSE: Undisputed.

            3.       Quincy’s operations are handled by its now approximately 80 employees and

    governed by a board of directors comprised of a majority of independent directors. (Underwood

    Decl. at ¶ 4.)

          RESPONSE: Disputed in part. Underwood has direct oversight over Corporate

Defendants’ departments of sales and marketing and research and development, among other



1
  As used herein, the term “Quincy” refers to Quincy Bioscience Holding Company, Inc., along with its subsidiaries,
including the other corporate defendants, Quincy Bioscience, LLC, Prevagen, Inc., and/or Quincy Bioscience
Manufacturing, LLC.
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departments. Corporate Defendants’ director and Vice President of sales and marketing report

directly to him. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 40:19-41:21.) Additionally,

Underwood may have been the sole individual responsible for reviewing and editing packaging

and advertisements, and translating scientific research into language used in marketing when

Corporate Defendants first began operating and/or began advertising and marketing Prevagen.

(Id. at 28:16-24; id. at 33:16-34:21.).) Underwood is the final decision maker on final advertising

claims. (Matuschak Decl. Ex. B (Defs.’ Resps. to Pls.’ First Requests for Admission (Sept. 30,

2020)), at 62-63; Matuschak Decl. Ex. J (Quincy’s Answers to FTC’s CID Interrogatories (Sept.

15, 2015), at 6



                                                   ; Matuschak Decl. Ex. E (Underwood 8/20/20

Tr. at 99:5-11 (describing Underwood’s involvement in determining what data to include in an

advertisement); Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 60:2-5 (discussing role in

approving edits to Prevagen’s packaging). Indeed, when the company was first founded,

Underwood’s responsibilities included “everything” because “[t]here was no one else here” and he

had “direct oversights over . . . every department from finance to research and development to

sales and marketing.” (Id. at 34:5-16.)

         4.       Quincy has employed marketing professionals since its inception. (Underwood

 Decl. at ¶ 5.)

       RESPONSE: Disputed. Underwood may have been the sole individual responsible for

reviewing and editing packaging and advertisements, and translating scientific research into

language used in marketing when Corporate Defendants first began operating and/or began

advertising and marketing Prevagen. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 28:16-

24; id. at 33:16-34:21.) Indeed, when the company was first founded, Underwood’s responsibilities

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included “everything” because “[t]here was no one else here” and he had “direct oversights over . .

. every department from finance to research and development to sales and marketing.” (Id. at 34:5-

16.)

        5.      Currently, at least five senior sales and marketing executives oversee and manage

 Quincy’s sales and marketing department, headed by Thomas Dvorak. (Underwood Decl. at ¶¶ 6,

 8.) Mr. Dvorak leads “the production effort of [television, radio and print marketing] and the

 media buying for it.” (Declaration of Michael de Leeuw dated March 18, 2022 (“de Leeuw

 Decl.”), Ex. 1, Deposition of Todd Olson as Individual, at 21:2-19.)

       RESPONSE: Disputed in part. The cited evidence does not support the purported finding

that “at least five senior sales and marketing executives oversee and manage Quincy’s sales and

marketing department.” Moreover, Underwood may have been the sole individual responsible for

reviewing and editing packaging and advertisements, and translating scientific research into

language used in marketing when Corporate Defendants first began operating and/or began

advertising and marketing Prevagen. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 28:16-

24; id. at 33:16-34:21.) Indeed, when the company was first founded, Underwood’s

responsibilities included “everything” because “[t]here was no one else here” and he had “direct

oversights over . . . every department from finance to research and development to sales and

marketing.” (Id. at 34:5-16.) Underwood is the final decision maker on final advertising claims.

(Matuschak Decl. Ex. B (Defs.’ Resps. to Pls.’ First Requests for Admission (Sept. 30, 2020)), at

62-63; Matuschak Decl. Ex. J (Quincy’s Answers to FTC’s CID Interrogatories (Sept. 15, 2015),

at 6



                                          ; Matuschak Decl. Ex. E (Underwood 8/20/20 Tr. at

99:5-11 (describing Underwood’s involvement in determining what data to include in an


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advertisement). Moreover, Corporate Defendants’ directors of sales and marketing, market

development, business development, and media procurement all report directly to Underwood.

(Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 34:1-21; id. at 40:19-41:21.)

        6.      Quincy also has a Director of Sales (Dakota Miller) as well as a Media Director

 (Ryan Liebl). (Underwood Decl. at ¶¶ 7, 9.)

       RESPONSE: Disputed in part. While there is evidence indicating that Dakota Miller is

the “Director of Sales and Marketing,” there also is evidence indicating that Tom Dvorak is the

Vice President of “Sales and Marketing.” (Matuschak Decl. Ex. K (Olson 8/4/20 Tr. Ex. 1)

(organizational chart); Matuschak Decl. Ex. G (Olson 8/4/20 Tr.) at 19:3-12, 25:9-19.) Indeed,

when the company was first founded, Underwood’s responsibilities included “everything”

because “[t]here was no one else here” and he had “direct oversights over . . . every department

from finance to research and development to sales and marketing.” (Matuschak Decl. Ex. F

(Underwood 8/21/20 Tr.) at 34:5-16.)

        7.      Todd Olson, Quincy’s market development director, is the main account

 representative or account manager for several regional retail accounts, and point on some national

 accounts. (de Leeuw Decl., Ex. 1 (Olson dep.) at 15:2-10.)

       RESPONSE: Disputed in part. Underwood may have been the sole individual responsible

for reviewing and editing packaging and advertisements, and translating scientific research into

language used in marketing when Corporate Defendants first began operating and/or began

advertising and marketing Prevagen. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 28:16-

24; id. at 33:16-34:21.) Indeed, when the company was first founded, Underwood’s

responsibilities included “everything” because “[t]here was no one else here” and he had “direct

oversights over . . . every department from finance to research and development to sales and

marketing.” (Id. at 34:5-16.) Moreover, Corporate Defendants’ directors of sales and marketing,


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market development, business development, and media procurement all report directly to

Underwood. (Id. at 34:1-21, 40:19-41:21.)

         8.     The media budget and spend for marketing relating to Prevagen is, and has always

 been, national. (Underwood Decl. at ¶ 13.)

        RESPONSE: Disputed in part. Because this purported fact is vague and ambiguous, the

NYAG cannot determine whether it is disputed for the purposes of this motion.

         9.     The media budget for Prevagen is decided by a group of Quincy employees,

 including Mr. Underwood, Mr. Dvorak, and Mr. Miller, among others. (Underwood Decl. at ¶

 14.)

        RESPONSE: Disputed in part. When the company was first founded, Underwood’s

responsibilities included “everything” because “[t]here was no one else here” and he had “direct

oversights over . . . every department from finance to research and development to sales and

marketing.” (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 34:5-16.)

         10.    Advertising and marketing for Prevagen is national in scope. Prior to 2015,

 advertising and marketing for Prevagen included direct response advertising, meaning that

 infomercials were played on regional television and radio channels. (Underwood Decl. at ¶ 15.)

        RESPONSE: Disputed. Defendants’ advertising has targeted specific areas of the United

States, including the State of New York. Specifically, Defendants’ national advertising has aired

in New York, and Defendants have also placed specific television and radio advertisements on

New York television and radio stations. (Matuschak Decl. Ex. C (Defs.’ 2d Supp. Resps. to 2d

Interrogatories) Ex. A (showing networks on which Defendants’ television and radio

advertisements aired).) Moreover, Defendants have advertised on their website, which was and is

available to New York consumers. (Matuschak Decl. Ex. G (Olson 8/4/20 Tr.) at 33:24-36.)

Defendants also made advertising claims on their product packaging, which was distributed to


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New York consumers. (Matuschak Decl. Ex. C (Defs.’ 2d Supp. Resps. to Pls.’ 2d Interrogatories

(Oct. 23, 2020)) No. 3 (describing claims made on Prevagen label and packaging); Matuschak

Decl. Ex. D (Defs.’ 4th Supp. Resps. to Pls.’ 1st Interrogatories) at 11 & Ex. C (detailing number

of bottles of Prevagen sold and shipped to New York addresses); id. Ex. E (detailing number of

bottles shipped directly to consumers in New York).) Additionally, Defendants have sent

marketing materials directly to consumers via email later than 2015. (Matuschak Decl. Ex. L

(FTC-0000136.0001-FTC-0000136.0004) (3/25/19 Email from prevagen.com to Jackson);

Matuschak Decl. Ex. M (FTC-0004073) (7/10/17 Email from prevagen.com to Rusk).)

         11.     Prevagen infomercials have never been targeted to a specific geographic market,

 including New York. (Underwood Decl. at ¶ 16.)

       RESPONSE: Disputed. Defendants’ infomercials aired in the State of New York.

(Matuschak Decl. Ex. C (Defs.’ 2d Supp. Resps. to Pls.’ 2d Interrogatories (Oct. 23, 2020)) No. 3

& Ex. A (detailing dissemination schedule for infomercials, including advertisements that aired

nationally, including in New York, and on New York-specific television stations).)

         12.     To place these infomercials, Quincy’s media buyers would buy spot purchases for

 television and radio slots on television and radio channels throughout the country. (Underwood

 Decl. at ¶ 17.) Quincy’s marketing and advertising team would send infomercials to these channels

 to be aired. (Id.)

      RESPONSE: Disputed in part. Underwood may have made media purchases when

Corporate Defendants first began operating and/or began advertising and marketing Prevagen.

(Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 28:16-24; id. at 33:16-34:21.)

         13.     Quincy’s media buyers would analyze the response to the infomercials that had

 aired in different markets and then decide whether the advertisements were successful enough to

 purchase additional spots for infomercials in those markets. (Underwood Decl. at ¶ 18.) These


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 decisions were made by the media buyers who reported directly to Mr. Miller as part of this

 process. (Id.)

      RESPONSE: Disputed in part. Underwood may have made media purchases when

Corporate Defendants first began operating and/or began advertising and marketing Prevagen.

(Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 28:16-24; id. at 33:16-34:21.)

        14.       Mr. Underwood was not involved in directing any New York-market specific

 advertising for Prevagen, nor did he purchase any media spots. (Underwood Decl. at ¶¶ 19-20.)

      RESPONSE: Disputed. Underwood has direct oversight over Corporate Defendants’

departments of sales and marketing and research and development, among other departments.

Corporate Defendants’ director and Vice President of sales and marketing report directly to him.

(Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 40:19-41:21.) Additionally, Underwood may

have been the sole individual responsible for reviewing and editing packaging and advertisements,

and translating scientific research into language used in marketing when Corporate Defendants

first began operating and/or began advertising and marketing Prevagen. (Id. at 28:16-24; id. at

33:16-34:21.) Underwood has participated in creating content for television and radio ads and is

the final decision maker on final advertising claims. (Matuschak Decl. Ex. B (Defs.’ Resps. to

Pls.’ First Requests for Admission (Sept. 30, 2020)), at 62-63; Matuschak Decl. Ex. J (Quincy’s

Answers to FTC’s CID Interrogatories (Sept. 15, 2015), at 6




           ; Matuschak Decl. Ex. E (Underwood 8/20/20 Tr. at 99:5-11 (describing Underwood’s

involvement in determining what data to include in an advertisement); Matuschak Decl. Ex. F

(Underwood 8/21/20 Tr.) at 46:6-47:11 (discussing leadership role in developing marketing

messaging); id. at 60:2-5 (discussing role in approving edits to Prevagen’s packaging); id. at

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67:16-68:12 (discussing Underwood’s role in an infomercial that aired in New York); id. at 80:16-

82:5 (same); id. at 85:2-86:17 (discussing Underwood’s role in translating scientific data into

marketing language); Matuschak Decl. Ex. G (Olson 8/4/20 Tr.) at 63:2-9 (discussing

Underwood’s role in drafting scripts for radio advertisements); id. at 78:1-21 (describing

Underwood as one of the “primary people” drafting content for television commercials).)

Defendants specifically directed advertising to television stations airing in New York and New

York radio stations. (Matuschak Decl. Ex. C (Defs.’ 2d Supp. Resps. to Pls.’ 2d Interrogatories

(Oct. 23, 2020)) Ex. A.) Additionally, Underwood may have made media purchases when

Corporate Defendants first began operating and/or began advertising and marketing Prevagen.

(Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 28:16-24; id. at 33:16-34:21.)

       15.      Quincy does not have, and has never had, a New York-specific marketing, sales or

advertising team, nor has it ever made any New York-specific marketing claims for Prevagen.

(Underwood Decl. at ¶¶ 10, 21.)

        RESPONSE: Disputed in part. Defendants have targeted and tailored ads to New York.

(Matuschak Dec. Ex. C (Defs.’ 2d Supp. Resps. to Pls.’ 2nd Interrogatories (Oct. 23, 2020)), Nos.

3, 4, & Ex. A (detailing dissemination schedule for television and radio advertisements, including

advertisements that aired on New York-specific television and radio stations); id. No. 8 (discussing

claims made on Prevagen packaging); Matuschak Decl. Ex. D (Defs.’ 4th Supp. Resps. to Pls.’ 1st

Interrogatories (Oct. 23, 2020)), at 11 & Ex. C (detailing number of bottles of Prevagen sold and

shipped to New York addresses, and revenue received from such sales); id. Ex. E (detailing number

and amount of direct-to-consumer sales to consumers in New York); Matuschak Decl. Ex. N

(7/31/15 Email from Dvorak to Olson, Underwood, Miller (QUI-FTCNY-00114971-972)

                                                                                                    .)




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       16.     Quincy’s marketing department collectively made decisions about advertising and

marketing content, (de Leeuw Decl. Ex. 2, Deposition of Mark Underwood Pursuant to Rule

30(b)(6), at 81:20-82:13; de Leeuw Decl. Ex. 1 (Olson dep.) at 37:16-38:22), or otherwise

outsourced marketing and media placement responsibilities to third-party companies (de Leeuw

Decl. Ex. 3, Deposition or Mark Underwood as Individual, at 46:20-23.)

       RESPONSE: Disputed in part. Underwood may have been the sole individual responsible

for reviewing and editing packaging and advertisements, and translating scientific research into

language used in marketing when Corporate Defendants first began operating and/or began

advertising and marketing Prevagen. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 28:16-

24; id. at 33:16-34:21.) Underwood is the final decision maker on final advertising claims.

(Matuschak Decl. Ex. B (Defs.’ Resps. to Pls.’ First Requests for Admission (Sept. 30, 2020)), at

62-63; Matuschak Decl. Ex. J (Quincy’s Answers to FTC’s CID Interrogatories (Sept. 15, 2015),

at 6



                                          ; Matuschak Decl. Ex. E (Underwood 8/20/20 Tr. at

99:5-11 (describing Underwood’s involvement in determining what data to include in an

advertisement); Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 46:6-47:11 (discussing

leadership role in developing marketing messaging); id. at 60:2-5 (discussing Underwood’s role in

approving edits to Prevagen’s packaging).) Additionally, when the company was first founded,

Underwood’s responsibilities included “everything” because “[t]here was no one else here” and he

had “direct oversights over . . . every department from finance to research and development to

sales and marketing.” (Id. at 34:5-16.)

       17.      Mr. Underwood testified that he is “part of the marketing team” at Quincy, and that

Quincy’s marketing is all done as a “team activity” involving the entire marketing team. (de Leeuw

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Decl. Ex. 3 (Underwood Individual dep.) at 46:24-47:2.)

       RESPONSE: Disputed in part. Underwood has direct oversight over Corporate

Defendants’ departments of sales and marketing and research and development, among other

departments. Corporate Defendants’ director and Vice President of sales and marketing report

directly to him. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 40:19-41:21.) Underwood

may have been the sole individual responsible for reviewing and editing packaging and

advertisements, and translating scientific research into language used in marketing when

Corporate Defendants first began operating and/or began advertising and marketing Prevagen.

(Id. at 28:16-24; id. at 33:16-34:21.) Underwood is the final decision maker on final advertising

claims. (Matuschak Decl. Ex. B (Defs.’ Resps. to Pls.’ First Requests for Admission (Sept. 30,

2020)), at 62-63; Matuschak Decl. Ex. J (Quincy’s Answers to FTC’s CID Interrogatories (Sept.

15, 2015), at 6



                                                   ; Matuschak Decl. Ex. E (Underwood 8/20/20

Tr. at 99:5-11 (describing Underwood’s involvement in determining what data to include in an

advertisement); Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 46:6-47:11 (discussing

leadership role in developing marketing messaging); id. at 60:2-5 (discussing role in approving

edits to Prevagen’s packaging); id. at 67:16-68:12 (discussing Underwood’s role in an infomercial

that aired in New York); id. at 80:16-82:5 (same); id. at 85:2-86:17 (discussing Underwood’s role

in translating scientific data into marketing language); Matuschak Decl. Ex. G (Olson 8/4/20 Tr.)

at 63:2-9 (discussing Underwood’s role in drafting scripts for radio advertisements); id. at 78:1-21

(describing Underwood as one of the “primary people” drafting content for television

commercials).) Indeed, when the company was first founded, Underwood’s responsibilities

included “everything” because “[t]here was no one else here” and he had “direct oversights over .

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. . every department from finance to research and development to sales and marketing.”

(Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 34:5-16.)

       18.      Quincy developed the creatives for its advertising in-house, collaboratively among

its marketing team. (de Leeuw Decl. Ex. 3 (Underwood Individual dep.) at 53:9-10.)

       RESPONSE: Disputed in part. Mr. Underwood has direct oversight over Corporate

Defendants’ departments of sales and marketing and research and development, among other

departments. Corporate Defendants’ director and Vice President of sales and marketing report

directly to him. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 40:19-41:21.) Additionally,

Underwood may have been the sole individual responsible for reviewing and editing packaging

and advertisements, and translating scientific research into language used in marketing when

Corporate Defendants first began operating and/or began advertising and marketing Prevagen.

(Id. at 28:16-24; id. at 33:16-34:21.) Underwood has participated in creating content for

television and radio ads and is the final decision maker on final advertising claims. (Matuschak

Decl. Ex. B (Defs.’ Resps. to Pls.’ First Requests for Admission (Sept. 30, 2020)), at 62-63;

Matuschak Decl. Ex. J (Quincy’s Answers to FTC’s CID Interrogatories (Sept. 15, 2015), at 6




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Underwood’s involvement in determining what data to include in an advertisement); Matuschak

Decl. Ex. F (Underwood 8/21/20 Tr.) at 46:6-47:11 (discussing leadership role in developing

marketing messaging); id. at 60:2-5 (discussing role in approving edits to Prevagen’s packaging);

id. at 67:16-68:12 (discussing Underwood’s role in an infomercial that aired in New York); id. at

80:16-82:5 (same); id. at 85:2-86:17 (discussing Underwood’s role in translating scientific data

into marketing language); Matuschak Decl. Ex. G (Olson 8/4/20 Tr.) at 63:2-9 (discussing


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Underwood’s role in drafting scripts for radio advertisements); id. at 78:1-21 (describing

Underwood as one of the “primary people” drafting content for television commercials).)

Additionally, Underwood provided his own content, unscripted, in at least one of Defendants’

Prevagen infomercials. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 73:25-74:15.)

       19.      Mr. Underwood is one of the people that approved edits to Prevagen’s packaging,

but not the sole individual. Instead, this group included marketing and advertising personnel at

Quincy, as well as counsel. (de Leeuw Decl. Ex. 3 (Underwood Individual dep.) at 60:2-9.)

       RESPONSE: Disputed in part. Underwood may have been the sole individual responsible

for reviewing and editing packaging and advertisements, and translating scientific research into

language used in marketing when Corporate Defendants first began operating and/or began

advertising and marketing Prevagen. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 28:16-

24; id. at 33:16-34:21.) Underwood is the final decision maker on final advertising claims.

(Matuschak Decl. Ex. B (Defs.’ Resps. to Pls.’ First Requests for Admission (Sept. 30, 2020)), at

62-63; Matuschak Decl. Ex. J (Quincy’s Answers to FTC’s CID Interrogatories (Sept. 15, 2015),

at 6



                                          ; Matuschak Decl. Ex. E (Underwood 8/20/20 Tr. at

99:5-11 (describing Underwood’s involvement in determining what data to include in an

advertisement); Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 46:6-47:11 (discussing

leadership role in developing marketing messaging); id. at 60:2-5 (discussing role in approving

edits to Prevagen’s packaging).)

       20.      The entire marketing and advertising team at Quincy is involved in the process of

translating scientific data into marketing language. (de Leeuw Decl. Ex. 3 (Underwood Individual

dep.) at 85:2-86:25.)


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       RESPONSE: Disputed in part. Underwood may have been the sole individual responsible

for reviewing and editing packaging and advertisements, and translating scientific research into

language used in marketing when Corporate Defendants first began operating and/or began

advertising and marketing Prevagen. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 28:16-

24; id. at 33:16-34:21.) Underwood has participated in creating content for television and radio

ads and is the final decision maker on final advertising claims. (Matuschak Decl. Ex. B (Defs.’

Resps. to Pls.’ First Requests for Admission (Sept. 30, 2020)), at 62-63; Matuschak Decl. Ex. J

(Quincy’s Answers to FTC’s CID Interrogatories (Sept. 15, 2015), at 6




             ; Matuschak Decl. Ex. E (Underwood 8/20/20 Tr. at 99:5-11 (describing Underwood’s

involvement in determining what data to include in an advertisement); Matuschak Decl. Ex. F

(Underwood 8/21/20 Tr.) at 46:6-47:11 (discussing leadership role in developing marketing

messaging); id. at 60:2-5 (discussing role in approving edits to Prevagen’s packaging).)

       21.       Scripts for Quincy’s radio ads are drafted by a team comprised of Todd Olson,

Mark Underwood, Tom Dvorak, and Dakota Miller. (de Leeuw Decl. Ex. 3 (Underwood Individual

dep.) at 63:2-9.)

       RESPONSE: Disputed in part. Underwood may have been the sole individual responsible

for reviewing and editing packaging and advertisements, and translating scientific research into

language used in marketing when Corporate Defendants first began operating and/or began

advertising and marketing Prevagen. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 28:16-

24; id. at 33:16-34:21.) Underwood has participated in creating content for television and radio

ads and is the final decision maker on final advertising claims. (Matuschak Decl. Ex. B (Defs.’

Resps. to Pls.’ First Requests for Admission (Sept. 30, 2020)), at 62-63; Matuschak Decl. Ex. J

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(Quincy’s Answers to FTC’s CID Interrogatories (Sept. 15, 2015), at 6




            .)

      22.        Content for Quincy’s television commercials is done by a team of video production

people and marketing personnel at Quincy, including Dakota Miller, Tom Dvorak, Todd Olson,

and Mr. Underwood. (de Leeuw Decl. Ex. 1 (Olson dep.) at 78:1-25.)

       RESPONSE: Disputed in part. Underwood may have been the sole individual responsible

for reviewing and editing packaging and advertisements, and translating scientific research into

language used in marketing when Corporate Defendants first began operating and/or began

advertising and marketing Prevagen. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 28:16-

24; id. at 33:16-34:21.) Underwood has participated in creating content for television and radio

ads and is the final decision maker on final advertising claims. (Matuschak Decl. Ex. B (Defs.’

Resps. to Pls.’ First Requests for Admission (Sept. 30, 2020)) at 62-63; Matuschak Decl. Ex. J

(Quincy’s Answers to FTC’s CID Interrogatories (Sept. 15, 2015), at 6




            ; Matuschak Decl. Ex. E (Underwood 8/20/20 Tr. at 99:5-11 (describing Underwood’s

involvement in determining what data to include in an advertisement); Matuschak Decl. Ex. F

(Underwood 8/21/20 Tr.) at 46:6-47:11 (discussing leadership role in developing marketing

messaging).)

      23.        Quincy’s marketing team took the findings from the Madison Memory Study and

helped translate them into advertising or marketing language or copy. (de Leeuw Decl. Ex. 1

(Olson dep.) at 95:6-96:19.).


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       RESPONSE: Disputed. Underwood has participated in creating content for television and

radio ads and is the final decision maker on final advertising claims. (Matuschak Decl. Ex. B

(Defs.’ Resps. to Pls.’ First Requests for Admission (Sept. 30, 2020)), at 62-63; Matuschak Decl.

Ex. J (Quincy’s Answers to FTC’s CID Interrogatories (Sept. 15, 2015), at 6




                          ; Matuschak Decl. Ex. E (Underwood 8/20/20 Tr. at 99:5-11 (describing

Underwood’s involvement in determining what data to include in an advertisement); Matuschak

Decl. Ex. F (Underwood 8/21/20 Tr.) at 46:6-47:11 (discussing leadership role in developing

marketing messaging); id. at 60:2-5 (discussing role in approving edits to Prevagen’s packaging);

id. at 67:16-68:12 (discussing Underwood’s role in an infomercial that aired in New York); id. at

80:16-82:5 (same); id. at 85:2-86:17 (discussing Underwood’s role in translating scientific data

from the Madison Memory Study into marketing language); Matuschak Decl. Ex. G (Olson 8/4/20

Tr.) at 63:2-9 (discussing Underwood’s role in drafting scripts for radio advertisements); id. at

78:1-21 (describing Underwood as one of the “primary people” drafting content for television

commercials).)

      24.        Mr. Underwood sat for two depositions in this litigation. The first was on August

20, 2020, during which he testified as a Rule 30(b)(6) witness on behalf of Quincy. The second

was on August 21, 2020, during which he testified in his individual capacity. Counsel for the New

York Attorney General was present at both depositions but declined the opportunity to ask Mr.

Underwood any questions. (de Leeuw Decl., Ex. 2 (Underwood 30(b)(6) dep.), at 160; de Leeuw

Decl., Ex. 3 (Underwood Individual dep.) at 214.)

       RESPONSE: Disputed in part. Counsel for the NYAG stated that the NYAG might have

additional questions if and when either of the Underwood depositions resume. (Matuschak Decl.


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Ex. E (Underwood 8/20/20 Tr.) at 160:12-14; Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at

214:15-17.)

                     The NYAG’s Statement of Additional Material Facts

       1.       Quincy Bioscience Holding Company, Inc., wholly owns: Prevagen, Inc., which

markets, manufactures, and sells Prevagen Products to consumers nationwide; Quincy Bioscience

Manufacturing, LLC; and Quincy Bioscience, LLC, the holder of Prevagen-related patents and

trademarks. (Matuschak Decl. Ex. C (Defs.’ 2d Supp. Resps. to Pls.’ 2d Interrogatories (Oct. 23,

2020)) No. 18; Matuschak Decl. Ex. B (Defs.’ Resps. to Pls.’ Requests for Admission (Sept. 30,

2020)) at 6.)

       2.       Corporate Defendants share the same officers, including individual Defendant Mark

Y. Underwood. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 37:13-38:6.)

       3.       Corporate Defendants share the same Board of Directors, and Underwood serves on

that board. (Matuschak Decl. Ex. F (Underwood 8/21 Tr.) at 37:13-38:6.)

       4.       Underwood is the co-founder, President, and Chief Operating Officer of Corporate

Defendants. (Matuschak Decl. Ex. B (Defs.’ Resps. to Pls.’ 1st Requests for Admission (Sept. 30,

2020)) No. 99.)

       5.       Underwood has participated in creating content for Prevagen television and radio

ads and is the final decision maker on final advertising claims. (Matuschak Decl. Ex. B (Defs.’

Resps. to Pls.’ 1st Requests for Admission (Sept. 30, 2020) at 62-63; Matuschak Decl. Ex. J

(Quincy’s Answers to FTC’s CID Interrogatories (Sept. 15, 2015) at 6



                                                                                              ;

Matuschak Decl. Ex. E (Underwood 8/20/20 Tr.) at 99:5-11 (describing Underwood’s involvement

in determining what data to include in an advertisement); Matuschak Decl. Ex. F (Underwood


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8/21/20 Tr.) at 46:6-47:11 (discussing leadership role in developing marketing messaging); id. at

60:2-5 (discussing role in approving edits to Prevagen’s packaging); id. at 67:16-68:12 (discussing

Underwood’s role in an infomercial that aired in New York); id. at 80:16-82:5 (same); id. at 85:2-

86:17 (discussing Underwood’s role in translating scientific data into marketing language);

Matuschak Decl. Ex. G (Olson 8/4/20 Tr.) at 63:2-9 (discussing Underwood’s role in drafting

scripts for radio advertisements); id. at 78:1-21 (describing Underwood as one of the “primary

people” drafting content for television commercials).)

       6.      Underwood is the largest individual shareholder of Quincy Bioscience Holding

Company, Inc. (Matuschak Decl. Ex. O (9/19/2016 Executed Corporate Financial Form) at 3 &

Item 7.)

       7.      Underwood originated the idea to create Prevagen with the active ingredient

apoaequorin based on independent research he did as a hobby while he was an undergraduate

student. (Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 29:12-32:6.)

       8.      Underwood participated in naming Prevagen and designing and editing the product

labels and packaging. (Matuschak Dec. Ex. F (Underwood 8/21/20 Tr.) at 60:2-5.)

       9.      Underwood is listed as an inventor on patents for aequorin (from which Prevagen’s

active ingredient, apoaequorin, was derived) and apoaequorin. (Matuschak Decl. Ex. F

(Underwood 8/21/20 Tr.) at 31:23-32:6.)

       10.     Underwood has appeared in infomercials on TV and radio to promote Prevagen.

(Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 51:14-52:7 (discussing appearance on untitled

infomercial); id. at 67:16-68:12 (discussing appearance on infomercial “The Better Memory

Show”); id. at 80:16-82:5 (same); Matuschak Decl. Ex. G (Olson 8/4/20 Tr.) at 62:4-25 (noting that

Mr. Underwood was “the primary” person who conducted radio interviews advertising Prevagen).)

At least one of those infomercials in which Underwood appeared aired on specific television

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stations in the State of New York. (Matuschak Decl. Ex. C (Defs.’ 2d Supp. Resps. to Pls.’ 2d

Interrogatories (Oct. 23, 2020)) Ex. A (detailing dissemination schedule for infomercials that aired

on New York-specific television and radio stations).)

       11.      Underwood has direct oversight over Corporate Defendants’ financial condition,

research and development, and sales and marketing. Corporate Defendants’ chief financial officer

and the directors of sales and marketing, market development, business development, systems and

logistics, national accounts, human resources, technical and quality, manufacturing sciences, and

media procurement all report directly to Underwood. (Matuschak Decl. Ex. F (Underwood 8/21

Tr.) at 34:1-21, 40:19-41:21.)

       12.      In his role as President of Corporate Defendants, Underwood oversaw, and

continues to oversee, the development, conduct, and evaluation of scientific research, including the

Madison Memory Study, on which Defendants’ advertising claims are based. (Matuschak Decl.

Ex. J (Quincy’s Answers to FTC’s CID Interrogatories (Sept. 15, 2015)) No. 4




             ; Matuschak Decl. Ex. P (Lerner 8/6/20 Tr.) at 30:8-24 (noting that Underwood was

involved in discussions about the Madison Memory Study and in writing up the results); id. at

43:17-24 (noting that Underwood was the sole person who decided to conduct the Madison

Memory Study); Matuschak Decl. Ex. F (Underwood 8/21/20 Tr.) at 82:24-84:23 (discussing

Underwood’s role in the Madison Memory Study); id. at 88:14-90:9 (same); id. at 91:11-92:20

(same).)

       13.      Prevagen advertisements have been disseminated to consumers nationwide,

including in the State of New York, through a variety of media, including but not limited to

television, radio, the internet, and product labeling and packaging. ((Rule 56.1 Statement in

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Support of Mark Underwood’s Motion for Partial Summary Judgment (filed Mar. 18, 2022) [Dkt.

No. 212] ¶ 10 (“Advertising and marketing for Prevagen is national in scope.”); Defs.’ Answer

(Aug. 7, 2019) [Dkt. No. 73] ¶¶ 23-24 (confirming that Prevagen has been advertised through

various means, including television); Matuschak Decl. Ex. C (Defs.’ 2d Supp. Resps. to Pls.’ 2d

Interrogatories) No. 3 & Ex. A (television); id. No. 4 & Ex. A thereto (radio); id. no. 8 (labeling

and packaging); Matuschak Decl. Ex. G (Olson 8/4/20 Tr. at 33:24-34:6 (internet).) Indeed,

Defendants do not dispute that “Prevagen advertisements have been disseminated to consumers

nationwide, including in the State of New York, through a variety of media, including television,

radio, print, the internet, social media, product labeling and packaging, and press releases,

including during the time periods shown in [Exhibit H to the Matuschak Declaration].”

(Matuschak Decl. Ex. I (Defs.’ Resps. & Proposed Counter-Findings to Pls.’ Proposed Findings of

Fact (Mar. 3, 2022)) at 15.)

       14.     Defendants have marketed Prevagen nationally on television since at least

     . (Matuschak Dec. Ex. I (Defs.’ Resps. & Proposed Counter-Findings to Pls.’ Proposed

Findings of Fact (Mar. 3, 2022)) at 15.) Defendants do not dispute that Prevagen has been

marketed on the radio since at least      . (Id. at 24.)

       15.     Defendants’ television, radio, and internet advertisements, as well as Prevagen

product packaging, have made the claims at issue in this case. (Matuschak Decl. Ex. I (Defs.’

Resps. & Proposed Counter-Findings to Pls.’ Proposed Findings of Fact (Mar. 3, 2022) at 15-33.)

       16.     Defendants, including Mr. Underwood, created, edited, reviewed, approved, and

placed the advertisements for Prevagen. (Matuschak Decl. Ex. C (Defs.’ 2d Supp. Resps. to Pls.’

2d Interrogatories (Oct. 23, 2020)) No. 7.)

       17.     Defendants’ New York State sales, from 2011 to present, totaled (in terms of bottles

and revenue amount, for each year):

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                                CERTIFICATE OF SERVICE

       I certify that on this 6th day of May 2022, I served via ECF the foregoing Response to

Defendant Mark Underwood’s Rule 56.1 Statement by Plaintiff People of the State of New York,

by Letitia James, Attorney General of the State of New York, to the attorneys of record on the

Service List below.


                                              /s/ Kate Matuschak
                                            Kate Matuschak


Geoffrey W. Castello, III.                        Michael B. de Leeuw
Glenn T. Graham                                   Tamar S. Wise
Jaclyn M. Metzinger                               Cozen O’Connor
Kelley Drye & Warren LLP                          3 WTC, 175 Greenwich St
3 WTC, 175 Greenwich St.                          55th Floor
New York, NY 10007                                New York, NY 10007
(212) 808-7800                                    (212) 908-1331
gcastello@kelleydrye.com                          mdeleeuw@cozen.com
ggraham@kelleydrye.com                            twise@cozen.com
jmetzinger@kelleydrye.com                         Attorneys for Mark Underwood
Attorneys for Quincy Bioscience Holding
Co., Inc., Quincy Bioscience, LLC, Prevagen       John B. Kelly
Inc., Quincy Bioscience Manufacturing, LLC        Wachtell, Lipton, Rosen & Katz
                                                  51 W. 52nd Street
John H. Villafranco                               New York, NY 10019
Kelley Drye & Warren LLP                          (212) 413-1000
Washington Harbour, Suite 400                     jbkelly@wlrk.com
3050 K Street, NW Washington,                     Attorneys for Mark Underwood
D.C. 20007
(202) 342-8423                                    Annette Soberats
jvillafranco@kelleydrye.com                       Edward Glennon
Attorneys for Quincy Bioscience Holding           Andrew Wone
Co., Inc., Quincy Bioscience, LLC, Prevagen       Federal Trade Commission
Inc., Quincy Bioscience Manufacturing, LLC        600 Pennsylvania Avenue, N.W.
                                                  Washington, DC 20850
                                                  (202) 326-2921
                                                  asoberats@ftc.gov
                                                  eglennon@ftc.gov
                                                  awone@ftc.gov
                                                  Attorneys for Plaintiff Federal Trade Commission
